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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


JOHN DOE, an individual,                        :
                                                :
                          Plaintiff,            :
                                                :
             v.                                 :   Case No. 18-cv-11776
                                                :
UNIVERSITY OF MICHIGAN (as to Title             :   Hon. Arthur J. Tarnow
IX violations), BOARD OF REGENTS OF             :   Mag. Elizabeth A. Stafford
THE UNIVERSITY OF MICHIGAN, a                   :
constitutional corporate body (as to Title IX   :   DEFENDANTS’
& ELCRA violations), PAMELA                     :   EMERGENCY MRPC 3.7
HEATLIE, ROBERT SELLERS,                        :   MOTION TO DISQUALIFY
MARTIN PHILBERT, ERIK WESSEL,                   :   ATTORNEY GORDON FOR
LAURA BLAKE JONES, E. ROYSTER                   :   JUNE 28, 2018 TRO
HARPER, SUZANNE MCFADDEN, and                   :   HEARING
PAUL ROBINSON, employees of the                 :
University of Michigan, sued in his or her      :
personal and official capacities, jointly and   :
severally,                                      :
                                                :
                          Defendants.           :


DEBORAH GORDON LAW                         SAUL EWING ARNSTEIN & LEHR LLP
Deborah L. Gordon (P27058)                 Joshua W.B. Richards
Elizabeth A. Marzotto Taylor (P82061)      Application for Admission Submitted
Attorneys for Plaintiff                    Amy L. Piccola
33 Bloomfield Hills Parkway, Suite 220     Attorneys for Defendants
Bloomfield Hills, Michigan 48304           1500 Market Street, 38th Floor
(248) 258-2500                             Philadelphia, Pennsylvania 19102
dgordon@deborahgordonlaw.com               (215) 972-7737
emarzottotaylor@deborahgordonlaw.com       joshua.richards@saul.com
                                           amy.piccola@saul.com




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                                           MILLER, CANFIELD, PADDOCK AND
                                           STONE, P.L.C.
                                           Brian M. Schwartz (P69018)
                                           Attorney for Defendants
                                           150 West Jefferson, Suite 2500
                                           Detroit, Michigan 48226
                                           (313) 963-6420
                                           schwartzb@millercanfield.com

      Defendants, by their undersigned attorneys, move this Court for an order

disqualifying Deborah L. Gordon, Esquire from representing Plaintiff John Doe at

the June 28, 2018 hearing on Plaintiff’s Motion for Temporary Restraining Order

and Preliminary Injunction. In support of this motion, Defendants rely upon the

attached brief in support.

                                      Respectfully submitted,

June 27, 2018                         /s/Joshua W. B. Richards
                                      SAUL EWING ARNSTEIN & LEHR LLP
                                      Joshua W. B. Richards
                                      Amy L. Piccola
                                      Attorneys for Defendants
                                      1500 Market Street, 38th Floor
                                      Philadelphia, Pennsylvania 19102
                                      (215) 972-7737
                                      joshua.richards@saul.com
                                      amy.piccola@saul.com

                                      MILLER, CANFIELD, PADDOCK AND
                                      STONE, P.L.C.
                                      Brian M. Schwartz (P69018)
                                      Attorney for Defendants
                                      150 West Jefferson, Suite 2500
                                      Detroit, Michigan 48226
                                      (313) 963-6420
                                      schwartzb@millercanfield.com
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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


JOHN DOE, an individual,                        :
                                                :
                         Plaintiff,             :
                                                :
      v.                                        :   Case No. 18-cv-11776
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THE UNIVERSITY OF MICHIGAN, a                   :
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& ELCRA violations), PAMELA                     :   EMERGENCY MRPC 3.7
HEATLIE, ROBERT SELLERS,                        :   MEMORANDUM IN
MARTIN PHILBERT, ERIK WESSEL,                   :   SUPPORT OF MOTION TO
LAURA BLAKE JONES, E. ROYSTER                   :   DISQUALIFY ATTORNEY
HARPER, SUZANNE MCFADDEN, and                   :   GORDON FROM
PAUL ROBINSON, employees of the                 :   REPRESENTING
University of Michigan, sued in his or her      :   PLAINTIFFAT JUNE 28,
personal and official capacities, jointly and   :   2018 HEARING
severally,                                      :
                                                :
                         Defendants.            :


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(248) 258-2500                             Philadelphia, Pennsylvania 19102
dgordon@deborahgordonlaw.com               (215) 972-7737
emarzottotaylor@deborahgordonlaw.com       joshua.richards@saul.com
                                           amy.piccola@saul.com
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                                          MILLER, CANFIELD, PADDOCK AND
                                          STONE, P.L.C.
                                          Brian M. Schwartz (P69018)
                                          Attorney for Defendants
                                          150 West Jefferson, Suite 2500
                                          Detroit, Michigan 48226
                                          (313) 963-6420
                                          schwartzb@millercanfield.com




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                                INTRODUCTION
      Two days before the Court was to hear argument on Plaintiff’s Motion for a

Temporary Restraining Order and Preliminary Injunction (“TRO Motion”),

Plaintiff submitted, untimely and without leave of Court, an Affidavit of Deborah

L. Gordon (“Gordon Affidavit”) as Exhibit D to Plaintiff’s Reply to Defendants’

Response to Plaintiff’s Motion, purportedly to “supplement” Plaintiff’s Reply.

(Dkt #26). The Gordon Affidavit is attached hereto as Exhibit 1.

      The Gordon Affidavit provided testimony adding facts to the limited record

on the TRO Motion.        Gordon’s testimony includes facts related to: (1) the

sufficiency of the University’s process, (2) whether the Claimant was questioned in

person by a factfinder, and (3) the materiality of the feedback provided by plaintiff.

That testimony is disputed in material respects, and is thus subject to rebuttal.

Plaintiff had multiple potential avenues for placing the “supplemental evidence”

before the Court, but counsel chose instead to submit her own testimony. The facts

presented by Ms. Gordon are not ministerial or a simple matter of authentication –

they are material facts related to the University’s ongoing investigation.

      As a result of counsel’s strategic choice to submit her affidavit two days

before the hearing and to present her own sworn testimony, counsel has opened the

door to cross-examination, a right the University intends to exercise. Counsel,

however, cannot play the dual role of advocate and fact witness pursuant to
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Michigan Rule of Professional Conduct (“MRPC”) 3.7—the so-called “advocate-

witness” rule. As a result, counsel must be disqualified from appearing as counsel

at the hearing on the TRO Motion.

                             Statement of Relevant Facts
       On June 4, 2018, Plaintiff filed a Complaint against the Defendant alleging

violations of due process and various counts of discrimination, which was

immediately followed by Plaintiff’s Motion on June 5, 2018. (See Dkt. 1, 4).

Counsel for Plaintiff include Deborah L. Gordon and Elizabeth A. Marzotto

Taylor, both of Deborah Gordon Law. (Id.).

       The Gordon Affidavit makes the following material, disputed factual

allegations: (1) that a material amount of additional information was added to the

preliminary draft investigative report between the first and second draft reports

(See Exhibit 1 at para. 12) (2) that the second draft report added information that

raised “significant credibility issues,” (id. at para. 13); (3) that there was no live

interview of Claimant as part of the interview process (id. at para. 14); and (4) that

numerous additional substantive issues were raised by the feedback provided by

the parties to the draft investigative reports (id. at para. 7).

                                     ARGUMENT
       A.     Standard for Disqualification.
       A party in a lawsuit may bring a motion to disqualify an attorney pursuant to

MRPC 3.7. See, e.g., Saari v. Susser (In re Estate of Susser), 657 N.W. 2d 147,

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151 (2002). MRPC 3.7(a), which provides the ethical rule regarding lawyers as

witnesses, states as follows:

      (a) A lawyer shall not act as advocate at a trial in which the lawyer is
      likely to be a necessary witness except where:
             (1) the testimony relates to an uncontested issue;
             (2) the testimony relates to the nature and value of legal
             services rendered in the case; or
             (3) disqualification of the lawyer would work substantial
             hardship on the client.

Id. (emphasis added). The comment to MRPC 3.7 explains:

      Combining the roles of advocate and witness can prejudice the
      opposing party and can involve a conflict of interest between the
      lawyer and client. . . . A witness is required to testify on the basis of
      personal knowledge, while an advocate is expected to explain and
      comment on evidence given by others. It may not be clear whether a
      statement by an advocate witness should be taken as proof or as an
      analysis of the proof.

Michigan courts have explained further:

      [T]he purpose of the rule is to prevent any problems that would arise
      from a lawyer's having to argue the credibility and the effect of his or
      her own testimony, to prevent prejudice to the opposing party that
      might arise therefrom, and to prevent prejudice to the client if the
      lawyer is called as an adverse witness, not to permit the opposing
      party to seek disqualification as a tactical device to gain an advantage.

People v. Tesen, 739 N.W. 2d 689, 694 (2007) (citing Smith v. Arc-Mation, Inc,

261 N.W. 2d 716 (1978); Kubiak v. Hurr, 372 N.W. 2d 341 (1985)).

      B.     Ms. Gordon is a necessary witness.
      There is no practical way to test Ms. Gordon’s affidavit other than to cross

examine her. This is true in large measure because of the timing of her affidavit,


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filed five days after she obtained the information she describes, per the heading of

the Affidavit, but only two days before the hearing. As a practical result, the

impeachment of the information presented by the Gordon Affidavit cannot be

effected through the examination of other witnesses. As a result, Ms. Gordon is a

necessary witness. See People v. Tesen, 739 N.W. 2d 689, 695 (2007).

      C.     None of the Exceptions to MRPC 3.7 apply

             1.     The testimony offered relates to contested issues.
      The testimony in the Gordon Affidavit involves: (1) the sufficiency of the

University’s process, (2) the existence of live questioning of the plaintiff by a

factfinder, and (3) the materiality of the feedback provided by plaintiff. Each of

these three issues is contested. Were the allegations in the Gordon Affidavit not

material and contested, it is difficult to see why Plaintiff would have filed the

Affidavit at all, given that it was filed out of time and without seeking leave of

Court. Now that Plaintiff has introduced this information into the limited record,

Defendants are entitled to test it through cross-examination lest it remain

uncontroverted in the record.

             2.     The testimony does not relate to the nature and value of
                    legal services to be rendered in the case.
      The testimony required of Gordon has nothing to do with the nature and

value of legal services rendered in this case.




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             3.     Disqualification of Gordon for the hearing on Plaintiff’s
                    Motion would not work undue hardship on the Plaintiff.
The Comment to MRPC 3.7 states:

      [P]aragraph (a)(3) recognizes that a balancing is required between the
      interests of the client and those of the opposing party. Whether the
      opposing party is likely to suffer prejudice depends on the nature of
      the case, the importance and probable tenor of the lawyer's testimony,
      and the probability that the lawyer's testimony will conflict with that
      of other witnesses. Even if there is risk of such prejudice, in
      determining whether the lawyer should be disqualified due regard
      must be given to the effect of disqualification on the lawyer's client. It
      is relevant that one or both parties could reasonably foresee that
      the lawyer would probably be a witness.

      The critical point here is that it could hardly have been more foreseeable that

supplementing the record with respect to material, factual, and non-ministerial

issues – through counsel’s own sworn testimony – would render Ms. Gordon a fact

witness. It would be fundamentally inequitable to allow Plaintiff to claim hardship

in response to a strategic filing that he chose to undertake.

      Further, Defendants are not at this time moving to disqualify Ms. Gordon

from the case in its entirety, but rather only for the purposes of the hearing on the

TRO Motion. As a result, any prejudice to Plaintiff would be minimal because

Plaintiff’s TRO Motion can be argued by Ms. Gordon’s co-counsel, Ms. Elizabeth

Marzotto Taylor.




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                                 CONCLUSION
       Plaintiff’s counsel’s dual role as an advocate and witness on behalf of the

 Plaintiff violates MRPC 3.7 and threatens the integrity of the adversary process.

 For these and the other reasons stated above, Defendants respectfully request that

 the Court grant their Motion to Disqualify Deborah L. Gordon as counsel for

 Plaintiff John Doe for the hearing on Plaintiff’s TRO Motion.


                                       Respectfully submitted,

 June 27, 2018                         /s/Joshua W. B. Richards
                                       SAUL EWING ARNSTEIN & LEHR LLP
                                       Joshua W. B. Richards
                                       Amy L. Piccola
                                       Attorneys for Defendants
                                       1500 Market Street, 38th Floor
                                       Philadelphia, Pennsylvania 19102
                                       (215) 972-7737
                                       joshua.richards@saul.com
                                       amy.piccola@saul.com

                                       MILLER, CANFIELD, PADDOCK AND
                                       STONE, P.L.C.
                                       Brian M. Schwartz (P69018)
                                       Attorney for Defendants
                                       150 West Jefferson, Suite 2500
                                       Detroit, Michigan 48226
                                       (313) 963-6420
                                       schwartzb@millercanfield.com




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                  EXHIBIT A
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                            CERTIFICATE OF SERVICE

       I hereby certify that on June 27, 2018, I electronically filed the foregoing

 papers with the Clerk of the Court using the ECF system which will send

 notification of such filing to:

                                   Deborah L. Gordon
                           dgordon@deborahgordonlaw.com



                                              /s/ Amy Piccola
